             Case 18-13243 Doc 7 Filed 12/06/18 Entered 12/06/18 11:35:49 Main Document Page 1 of 1
 Fill in this information to identify your case:

  Debtor 1                        Duc                                        Tran
                                 First Name              Middle Name        Last Name

  Debtor 2                        Lynn                                       Mai
  (Spouse, if filing)            First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                              Eastern District of Louisiana

  Case number                                                                                                                                 ❑     Check if this is an
  (if known)                                                                                                                                        amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                    12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ❑No. Go to line 3.
      ✔Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
      ❑
        ❑No
        ✔Yes. In which community state or territory did you live? Louisiana
        ❑                                                                                                 . Fill in the name and current address of that person.
               Lynn Mai
               Name of your spouse, former spouse, or legal equivalent
               3629 Ridgelake Dr. Unit 15
               Number          Street
               Metairie, LA 70002
               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt
                                                                                                                  Check all schedules that apply:
3.1                                                                                                               ❑Schedule D, line
      Name
                                                                                                                  ❑Schedule E/F, line
      Number          Street                                                                                      ❑Schedule G, line
      City                                    State     ZIP Code

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